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                              CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the aforementioned documents

were served on counsel below by First Class mail on October 1, 2008.


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